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                       EXHIBIT A
                       CLAIM FORM




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                        cbdMD SETTLEMENT CLAIM FORM
This Claim Form should be filled out online or submitted by mail if you used a payment card to make an
online purchase with cbdMD during the time period between March 30, 2020 and May 8, 2020, or between
May 14, 2020 through May 18, 2020, and you had out-of-pocket expenses, fraudulent charges, lost time
spent dealing with fraudulent charges or card replacement issues, or unreimbursed extraordinary monetary
losses as a result of the cbdMD Security Incident. You may get a check if you fill out this Claim Form, if
the Settlement is approved, and if you are found to be eligible for a payment.

The Settlement Notice describes your legal rights and options. To obtain the Settlement Notice and find
more information regarding your legal rights and options, please visit the official Settlement website,
[INSERT WEBSITE], or call toll-free [INSERT PHONE #].

If you wish to submit a claim for a settlement payment electronically, you may go online to the Settlement
Website, [INSERT], and follow the instructions on the “Submit a Claim” page.

If you wish to submit a claim for a settlement payment via standard mail, you need to provide the
information requested below and mail this Claim Form to [INSERT], postmarked by __________, 2021.
Please print clearly in blue or black ink.

1. CLASS MEMBER INFORMATION

Required Information:

First: _______________________________ M: ____________________ Last: _________________________

Address 1: ________________________________________________________________________________

Address 2: ________________________________________________________________________________

City: _______________________________ State: __________________ ZIP: _________________________

Country: __________________________________________________________________________________

Phone: ___________________________________________________________________________________

Optional Information:

Email: ____________________________________________________________________________________

2. PAYMENT ELIGIBILITY INFORMATION

To prepare for this section of the Claim Form, please review the Settlement Notice and Sections 2.1 through 2.3
of the Settlement Agreement (available for download at [INSERT]) for more information on who is eligible for a
payment and the nature of the expenses or losses that can be claimed.




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To help us determine if you are entitled to a settlement payment, please provide as much information as possible.

A. Verification of Class Membership

You are only eligible to file a claim if you used a credit or debit card in connection with an online purchase with
cbdMD during the time of the cbdMD Security Incident. Specifically, your online purchase must have been
made between March 30, 2020 at 00:03:12 UTC (Coordinated Universal Time) (March 29, 2020 at 8:03 pm
ET) and the end of May 8, 2020, or between May 14, 2020 at 21:02:57 UTC (6:02:57 pm ET) through the
end of May 18, 2020.

By submitting a claim and signing the certification below, you are verifying that you used a credit or debit card
in connection with an online purchase with cbdMD during the time of the cbdMD Security Incident.

In addition, to allow the Settlement Administrator to confirm your membership in the Class, you must provide
either:

(1) The unique identifier provided in the Notice you received by postcard or email;

or

(2) the first four and last four digits of the number associated with the credit or debit card you claim to have used
in connection with your online cbdMD purchase,

or

(3) a document or documents reflecting your use of a payment card in connection with your online cbdMD
purchase during the Security Incident, which could include, for example, a receipt from cbdMD reflecting
payment by a payment card, a payment card statement or bill, or notification from a bank or financial institution
stating that the payment card was compromised during the Security Incident with the dates and times noted above.

Thus, please EITHER:

       (1)     Provide the unique identifier provided in the Notice you received: _________________.

                                                        OR

       (2)     In the boxes provided below, please provide the first four and last four digits of the card number
               for each credit or debit card that you used in connection with your online cbdMD purchase during
               the dates and times of the Security Incident. For each credit or debit card number, provide the
               date(s) of the transaction(s).

       FIRST FOUR DIGITS
       LAST FOUR DIGITS [SETTLEMENT ADMINISTRATOR TO ADD BOXES]




                                      cbdMD Settlement Claim Form
                    Questions? Call [INSERT PHONE #] or visit [INSERT WEBSITE]
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                                                          OR

       (3)     Attach and identify the documentation that reflects your use of a payment card in connection with
               your online cbdMD purchase during the Security Incident. Please note that the documentation
               must reflect the use of a payment card and the date of the transaction.

       UPLOAD DOCUMENT [SETTLEMENT ADMINISTRATOR TO ADD]

B. Out-Of-Pocket Expenses

Check the box for each category of out-of-pocket expenses, fraudulent charges, or lost time that you incurred as
a result of the cbdMD Security Incident. Please be sure to fill in the total amount you are claiming for each
category and attach the required documentation as described in bold type (if you are asked to provide account
statements as part of required proof for any part of your claim, you may redact unrelated transactions and all but
the first four and last four digits of any account number, if you wish). Please round total amounts to the nearest
dollar.

       I. Ordinary Expenses Resulting from the cbdMD Security Incident

       □ Fees or other charges from your bank or credit card company due to fraudulent activity on your card
       incurred between March 30, 2020 and the Claims Deadline due to the cbdMD Security Incident.

                DATE                            DESCRIPTION                       AMOUNT



               Examples: Overdraft fees, over-the-limit fees, late fees, or charges due to insufficient funds or
               interest.

               [UPLOAD DOCUMENTS] Required: A copy of a bank of credit card statement or other
               proof of claimed fees or charges (you may redact unrelated transactions and all but the first
               four and last four digits of any account number).

       □ Fees or other charges relating to the reissuance of your credit or debit card incurred between March 30,
       2020 and the Claims Deadline due to the cbdMD Security Incident.

                DATE                            DESCRIPTION                       AMOUNT



               Examples: Fees that your bank charged you because you requested a new credit or debit card.

               [UPLOAD DOCUMENTS]Required: Attach a copy of a bank or credit card statement or
               other receipt showing these fees (you may redact unrelated transactions and all but the first


                                      cbdMD Settlement Claim Form
                    Questions? Call [INSERT PHONE #] or visit [INSERT WEBSITE]
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       four and last four digits of any account number).

□ Fees relating to your account being frozen or unavailable incurred between March 30, 2020 and the
Claims Deadline due to the cbdMD Security Incident.

        DATE                           DESCRIPTION                       AMOUNT




       Examples: You were charged interest by a payday lender due to card cancellation or due to over-
       limit situation. You had to pay a fee for a money order or other form of alternative payment
       because you could not use your debit or credit card.

       [UPLOAD DOCUMENTS]Required: Attach a copy of receipts, bank statements, credit card
       statements, or other proof that you had to pay these fees (you may redact unrelated
       transactions and all but the first four and last four digits of any account number).

□ Other incidental expenses, including telephone, internet, or postage expenses, directly related to the
cbdMD Security Incident incurred between March 30, 2020 and the Claims Deadline due to the cbdMD
Security Incident.

        DATE                           DESCRIPTION                       AMOUNT



       Examples: Other out of pocket expenses, long distance phone charges, cell phone charges (only if
       charged by the minute), or data charges (only if charged based on the amount of data used).

       [UPLOAD DOCUMENTS]Required: Attach a copy of the bill from your telephone
       company, mobile phone company, or internet service provider or other documentation that
       shows the expenses (you may redact unrelated transactions and all but the first four and last
       four digits of any account number).

□ Credit Reports or credit monitoring charges purchased between March 30, 2020 and the Claims
Deadline due to the cbdMD Security Incident. This category is limited to a maximum of $80 in costs
associated with credit monitoring or identity theft insurance, if purchased primarily as a result of the
Security Incident and if purchased between March 30, 2020 and the Claims Deadline.

    To obtain reimbursement under this category, you must attest to the following:

       □ I purchased credit reports between March 30, 2020 and the Claims Deadline, primarily due to
       the Security Incident and not for other purposes.



                               cbdMD Settlement Claim Form
             Questions? Call [INSERT PHONE #] or visit [INSERT WEBSITE]
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         DATE                              COST


               Examples: The cost of a credit report(s) that you purchased after hearing about the
               Security Incident.

       [UPLOAD DOCUMENT]Required: Attach a copy of a receipt or other proof of purchase
       for each product purchased (you may redact unrelated transactions).

□ Between one (1) and three (3) hours of documented time spent dealing with replacement card issues or
in reversing fraudulent charges between March 30, 2020 and the Claims Deadline that occurred as a result
of the cbdMD Security Incident (round to the nearest hour and check only one box).

       □ 1 Hour                □ 2 Hours              □ 3 Hours

       Examples: You spent at least one (1) full hour calling customer service lines, writing letters or
       emails, or on the internet in order to get fraudulent charges reversed or in updating automatic
       payment programs because your card number changed. Please note that the time that it takes to
       fill out this Claim Form is not reimbursable and should not be included in the total number of hours
       claimed.

       Required: If time was spent on the telephone or online, in the space below, describe what you
       did, or attach a copy of any letters or emails that you wrote. Examples: If the time was spent
       trying to reverse fraudulent charges, describe what you did. If the time was spent updating
       accounts due to your card being reissued, identify the other accounts that had to be updated.
       ______________________________________________________________________________
       ______________________________________________________________________________
       ______________________________________________________________________________
       ______________________________________________________________________________

II. Reimbursed Fraudulent Charges

□ Did you also have fraudulent charges to a credit or debit card account that were reversed or repaid as a
result of the Security Incident? If so, in addition to your out-of-pocket expenses, you are eligible to claim
a $20 cash payment for each debit or credit card on which fraudulent charges were made and reversed or
repaid, to compensate for lost time associated with seeking reimbursement for the fraud. (See Section 2.1
of the Settlement Agreement.)

         FIRST FOUR AND LAST FOUR DATE CHARGES
         DIGITS OF CARD           REVERSED (ONLY 1
                                  PER CARD
                                  REQUIRED)




                               cbdMD Settlement Claim Form
             Questions? Call [INSERT PHONE #] or visit [INSERT WEBSITE]
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       [UPLOAD DOCUMENTS]Required: For each card, provide a card statement or other
       documentation showing (1) one or more fraudulent charges were posted to your account that
       you believe were caused by the cbdMD Security Incident, and (2) the charges were later
       reversed or reimbursed by the bank or credit card company (you may redact unrelated
       transactions and all but the first four and last four digits of any account number).


III. Extraordinary Expenses

If you have expenses related to the Security Incident that are more than the value or different than the type
of ordinary expenses covered in the categories in Sections I and II above, you may be entitled to
compensation for your extraordinary expenses. To obtain reimbursement under this category, you must
attest to the following:

□ I incurred out-of-pocket unreimbursed expenses that occurred more likely than not as a result of the
cbdMD Security Incident during the time period from March 30, 2020 through the end of the Claims
Deadline other than those expenses covered by one or more of the categories above, and I made reasonable
efforts to avoid, or seek reimbursement for the losses.

□ Unreimbursed fraudulent charges incurred between March 30, 2020 and the Claims Deadline due to the
cbdMD Security Incident.

         DATE                            DESCRIPTION                        AMOUNT



       Examples: Fraudulent charges that were made on your credit or debit card account and that were
       not reversed or repaid even though you reported them to your bank or credit card company. Note:
       most banks are required to reimburse customer in full for fraudulent charges on payment cards
       that they issue.

       [UPLOAD DOCUMENTS]Required: The bank statement or other documentation reflecting
       the fraudulent charges, as well as documentation reflecting the fact that the charge was
       fraudulent (you may redact unrelated transactions and all but the first four and last four
       digits of any account number). If you do not have anything in writing reflecting the fact that
       the charge was fraudulent (e.g., communications with your bank or a police report), please
       identify the approximate date that you reported the fraudulent charge, to whom you
       reported it, and the response.

       Date reported:
       ______________________________________________________________________________

       Description of the person(s) to whom you reported the fraud:
       ______________________________________________________________________________


                               cbdMD Settlement Claim Form
             Questions? Call [INSERT PHONE #] or visit [INSERT WEBSITE]
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               ______________________________________________________________________________


       □ Other unreimbursed out-of-pocket expenses that were incurred between March 30, 2020 and the Claims
       Deadline as a result of the cbdMD Security Incident that are not accounted for in your response above.

                   DATE                        DESCRIPTION                      AMOUNT



               Examples: This category includes any other unreimbursed expenses or charges that are not
               otherwise accounted for in your answers to the questions above, including any expenses or charges
               that you believe were the result of an act of identity theft.

               [UPLOAD DOCUMENTS]Required: Describe the expense, why you believe that it is related
               to the cbdMD Security Incident, and provide as much detail as possible about the date you
               incurred the expense(s) and the company or person to whom you had to pay it. Please
               provide copies of any receipts, police reports, or other documentation supporting your claim.
               For claims of reimbursement for lost time, you must provide actual documentation reflecting
               the amount of time you spent dealing with replacement card issues or in reversing fraudulent
               charges sufficient to prove how much time was spent, on what, and that the time was spent
               on issues related to the cbdMD Security Incident. The Settlement Administrator may
               contact you for additional information before processing your claim.
               ______________________________________________________________________________
               ______________________________________________________________________________
               ______________________________________________________________________________
               ______________________________________________________________________________


C. Certification

I declare under penalty of perjury under the laws of the United States and the State of _____________________
that the information supplied in this Claim Form by the undersigned is true and correct to the best of my
recollection, and that this form was executed on the date set forth below.

I understand that I may be asked to provide supplemental information by the Settlement Administrator or Claims
Referee before my claim will be considered complete and valid.

Print Name: ______________________________________________________________________________

Signature: ______________________________________________________________________________

Date: _____________________________________________________________________________________




                                      cbdMD Settlement Claim Form
                    Questions? Call [INSERT PHONE #] or visit [INSERT WEBSITE]
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D. Submission Instructions

Once you’ve completed all applicable sections, please mail this Claim Form and all required supporting
documentation to the address provided below, postmarked by _______________, 20____.

                                   Warshawsky, et al. v. cbdMD et al.
                                  [INSERT CLAIMS ADMINISTRATOR
                                      MAILING INFORMATION]




                                      cbdMD Settlement Claim Form
                    Questions? Call [INSERT PHONE #] or visit [INSERT WEBSITE]
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                         EXHIBIT B
                         SHORT FORM
                         POST CARD NOTICE




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If you made a purchase with cbdMD between March 30, 2020 and May 18, 2020 using
a credit, debit, or other payment card, you may be eligible for a payment from a class
                                  action settlement.
A Settlement has been reached with cbdMD, Inc. and CBD Industries, LLC (collectively “cbdMD”) in a
class action lawsuit about a data Security Incident that occurred between March 30, 2020 and May 8,
2020, and also between May 14, 2020 through May 18, 2020 which potentially exposed payment card
data of customers. The lawsuit alleges that cbdMD was responsible for the Security Incident because
cbdMD did not take appropriate care to protect its eCommerce platform from hacking. cbdMD denies
the claims and denies any wrongdoing.

cbdMD records show you are a likely member of the Settlement Class. The Settlement will reimburse
people who submit claims for: (1) Out-of-pocket expenses and compensation for documented lost time
that resulted from the Security Incident up to $210; and (2) Extraordinary expenses up to $2,500 that
were likely caused by the Security Incident. Total reimbursement under this Settlement is subject to an
aggregate cap of $300,000 for all claims.

If you are a Settlement Class Member and you want to receive an Award, you must complete and
submit a Claim Form along with any required supporting information. Claim Forms can be found and
completed on this website: www.xxx.com. The deadline to submit a Claim Form is
_______.

As part of the Settlement, cbdMD has also committed to establish and maintain data security
enhancements related to its eCommerce platform and customer data.

Settlement Class Members may also request exclusion from the Settlement or object to it. Requests for
exclusion are due by ___________. Settlement Class Members who do not request exclusion can object
to the Settlement. Objections are due by ________________. The Court will hold a Final Settlement
Approval Hearing on Month 00, 2021 at 00:00 a.m. at the United States District Court for the Western
District of North Carolina (Charlotte Division) located at Charles R. Jonas Federal Bldg., 401 West Trade
Street, Charlotte, NC 28202, to consider whether to approve the settlement. The Court will hear
objections, determine if the Settlement is fair, and consider Class Counsel’s request for attorneys’ fees,
costs, and expenses of $135,000 and service awards of $2,500 for each of the Representative Plaintiffs.
You or your own lawyer may ask to appear at the hearing to be heard by the Court, but you do not have
to. The Motion for attorneys’ fees and costs and service awards for the Representative Plaintiffs will be
posted on the website after it is filed with the Court.

The Court has appointed the following Class Counsel to represent the Settlement Class in this Lawsuit:
M. Anderson Berry of Clayeo C. Arnold, A Professional Law Corporation, 865 Howe Avenue, Sacramento,
CA 95825, 916-777-7777; and Jean S. Martin of Morgan & Morgan Complex Litigation Group, 201 N.
Franklin St., 7th Fl., Tampa, FL 33602, 813-559-4908.

This is only a summary. For detailed information visit www.SettlementURL.com or call 1-000-000-0000.
You may contact the Settlement Administrator at cbdMD Settlement, c/o Settlement Administrator, PO
Box 0000, City, State, Zip.

                              www.SettlementURL.com         1-000-000-0000




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                      EXHIBIT C
                      SHORT FORM
                      EMAIL NOTICE




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If you made a purchase with cbdMD between March 30, 2020 and May 18, 2020 using
a credit, debit, or other payment card, you may be eligible for a payment from a class
                                  action settlement.
A Settlement has been reached with cbdMD, Inc. and CBD Industries, LLC (collectively “cbdMD”) in a
class action lawsuit about a data Security Incident that occurred between March 30, 2020 and May 8,
2020, and also between May 14, 2020 through the end of May 18, 2020 which potentially exposed
payment card data of customers. The lawsuit alleges that cbdMD was responsible for the Security
Incident because cbdMD did not take appropriate care to protect its eCommerce platform from hacking.
cbdMD denies the claims and denies any wrongdoing.

                                           Who Is Included?

cbdMD records show you are a likely member of the Settlement Class. The Settlement includes all
persons residing in the United States who used a credit, debit, or other payment card to make an online
purchase with cbdMD between March 30, 2020 at 00:03:12 UTC (Coordinated Universal Time) (March
29, 2020 at 8:03 pm ET) and the end of May 8, 2020, and between May 14, 2020 at 21:02:57 UTC
(6:02:57 pm ET) through the end of May 18, 2020.

                                            What Can I Get?

The Settlement will reimburse people who submit claims for:

(1) Out-of-pocket expenses and documented lost time that resulted from the Security Incident up to
$210; and

(2) Extraordinary expenses up to $2,500 that were likely caused by the Security Incident.

Total reimbursement under this Settlement is subject to an aggregate cap of $300,000 for all claims.

If you are a Settlement Class Member and you want to receive an Award, you must complete and
submit a Claim Form along with any required supporting information. Claim Forms can be found and
completed on this website: www.xxx.com. The deadline to submit a Claim Form is
_______.

As part of the Settlement, cbdMD has also committed to establish and maintain security enhancements.

                                          What are my rights?

Do Nothing. You will be legally bound by decisions of the Court and you give up the right to sue cbdMD
for the claims in this case.

Exclude Yourself. If you exclude yourself, you are not be legally bound by the Settlement and you keep
your right to sue. However, you will not get any money. You must submit your exclusion by Month 00,
2021.

Object. You can stay in the Settlement and tell the Court why you do not like the Settlement. Objections
must be submitted by Month 00, 2021. Detailed instructions on how to exclude yourself or object to the
Settlement are found in the long notice on the website or by calling 000-000-0000.




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                             When Will the Court Approve the Settlement?

The Court will hold a Final Settlement Approval Hearing on Month 00, 2021 at 00:00 a.m. at the United
States District Court for the Western District of North Carolina (Charlotte Division) located at Charles R.
Jonas Federal Bldg., 401 West Trade Street, Charlotte, NC 28202, to consider whether to approve the
settlement. The Court will hear objections, determine if the Settlement is fair, and consider Class
Counsel’s request for attorneys’ fees, costs, and expenses of $135,000 and service awards of $2,500 for
each of the Representative Plaintiffs. You or your own lawyer may ask to appear at the hearing to be
heard by the Court, but you do not have to. The Motion for attorneys’ fees and costs will be posted on
the website after it is filed with the Court.

                                 Who Represents The Settlement Class?

The Court has appointed the following Class Counsel to represent the Settlement Class in this Lawsuit:
M. Anderson Berry, Clayeo C. Arnold, A Professional Law Corporation, 865 Howe Avenue, Sacramento,
CA 95825, 916-777-7777; and Jean S. Martin, Morgan & Morgan Complex Litigation Group, 201 N.
Franklin St., 7th Fl., Tampa, FL 33602, 813-559-4908.

                                  Where Can I Find More Information?

This is only a summary. You can find the full Class Notice, along with a full description of the proposed
Settlement, related Court documents, dates and forms, and additional information on how Settlement
Class Members can exclude themselves from the Settlement or object to it by visiting
www.SettlementURL.com or calling 1-000-000-0000. You may contact the Settlement Administrator at
cbdMD Settlement, c/o Settlement Administrator, PO Box 0000, City, State, Zip. DO NOT CONTACT THE
JUDGE, THE COURT, OR THE DEFENDANTS.

                                        www.SettlementURL.com

                                             1-000-000-0000




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                                EXHIBIT D
                                LONG FORM NOTICE




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           UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF NORTH CAROLINA


         If you made an online purchase with cbdMD
          between March 30, 2020 and May 18, 2020
         using a credit, debit, or other payment card,
        you may be eligible for a payment from a class
                      action settlement.
               A court authorized this notice. This is not a solicitation from a lawyer.
•    A Settlement has been reached with cbdMD, Inc. and CBD Industries, LLC (collectively
     “cbdMD”) in a class action lawsuit about a data security incident that occurred between March
     30, 2020 and May 8, 2020, and also between May 14, 2020 through May 18, 2020 (“Security
     Incident”).
•    During the Security Incident, cbdMD suffered a cyberattack on its eCommerce platform that
     accepts payment cards. The Security Incident potentially resulted in unauthorized access to
     customer payment card data, including first and last names, shipping addresses, billing
     addresses, credit or debit card numbers including expiration dates and card verification values,
     and/or bank account numbers. Subsequently, ta class action lawsuit was filed asserting claims
     against cbdMD relating to the Security Incident.
•    The Settlement includes all persons residing in the United States who used a credit, debit,   or
     other payment card to make an online purchase with cbdMD between March 30, 2020               at
     00:03:12 UTC (Coordinated Universal Time) (March 29, 2020 at 8:03 pm ET) and the end          of
     May 8, 2020, or between May 14, 2020 at 21:02:57 UTC (6:02:57 pm ET) through the end          of
     May 18, 2020.
•    The Settlement provides payments to people who submit valid claims for out-of-pocket
     expenses and charges that were incurred and plausibly arose from the Security Incident, and for
     other extraordinary unreimbursed monetary losses.
        Your legal rights are affected even if you do nothing. Read this Notice carefully.

                     YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
Submit a Claim                The only way to get a payment.
                              You must submit a claim by Month Day, 2021.
                              Get no payment. The only option that allows you to sue cbdMD over
Ask to be Excluded            the claims resolved by this Settlement.
                              You must exclude yourself by Month Day, 2021.

Object                        Write to the Court about why you do not like the Settlement.
                              You must object by Month Day, 2021.

Do Nothing                    Get no payment. Give up rights.

•       These rights and options – and the deadlines to exercise them – are explained in this
        notice.
                    Questions? Call 1-XXX-XXX-XXXX or visit [WEBSITE]

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•       The Court in charge of this case still has to decide whether to grant final approval of the
        Settlement. Payments will only be made after the Court grants final approval of the
        Settlement and after any appeals are resolved.




                     Questions? Call 1-XXX-XXX-XXXX or visit [WEBSITE]
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                                   BASIC INFORMATION
1. Why was this Notice issued?

The Court authorized this notice because you have a right to know about the proposed Settlement
in this class action lawsuit and about all of your options before the Court decides whether to give
“final approval” to the Settlement. This notice explains the legal rights and options that you may
exercise before the Court decides whether to approve the Settlement.
Judge Robert J. Conrad, Jr. of the United States District Court for the Western District of North
Carolina (Charlotte Division) is overseeing this case. The case is known as Warshawsky et. al. v.
cbdMD, Inc. et. al., Case No. 3:20-cv-00562-RJC-DSC. The persons who sued are called the
Plaintiffs. cbdMD, Inc. and CBD Industries, LLC (collectively “cbdMD”) are called the
Defendants.

2. What is this lawsuit about?

The Lawsuit is a proposed class action lawsuit brought on behalf of U.S. residents whose
Personal Information may have been accessed and/or compromised by unauthorized
individuals as part of the Security Incident. The Security Incident resulted in the potential
exposure of payment card data of customers who used a credit or debit card to make a
purchase from the cbdMD website. The potentially-exposed information may include
customers’ names, billing and shipping addresses, payment card numbers, CVV security codes,
and credit card expiration dates.


The lawsuit claims that cbdMD was responsible for the Security Incident and asserts claims such
as: negligence, declaratory judgment, violation of the Florida Deceptive and Unfair Trade
Practices Act, violation of the California Consumer Protection Act, and unjust enrichment. The
lawsuit seeks compensation for people who had out-of-pocket expenses, fraudulent charges, lost
time spent dealing with fraudulent charges or card replacement issues, or unreimbursed
extraordinary monetary losses as a result of the Security Incident. cbdMD denies all of the
Plaintiffs’ claims and maintains that it did not do anything wrong.

3. Why is this lawsuit a class action?

In a class action, one or more people called “Representative Plaintiffs” sue on behalf of all
people who have similar claims. All of these people together are the “Class” or “Class
Members.” In this case, the Representative Plaintiffs are Michael Warshawsky and Michael
Steinhauser. One court resolves the issues for all Class Members, except for those who exclude
themselves from the Class and this Settlement.

4. Why is there a Settlement?

By agreeing to settle, both sides avoid the cost and risk of a trial, and people who submit valid
claims will get compensation. The Representative Plaintiffs and their attorneys believe the
Settlement is fair, reasonable, and adequate and, thus, best for the Class and its members. The
Settlement does NOT mean that cbdMD did anything wrong.


                  Questions? Call 1-XXX-XXX-XXXX or visit [WEBSITE]
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                            WHO IS IN THE SETTLEMENT?
5. How do I know if I am included in the Settlement?

You are included in the Settlement Class if you reside in the United States and used a credit,
debit or other payment card if you used a payment card to make an online purchase with cbdMD
during the time of the Security Incident and you had out-of-pocket expenses, fraudulent charges,
lost time spent dealing with fraudulent charges or card replacement issues, or unreimbursed
extraordinary monetary losses as a result of the cbdMD Security Incident. Your online purchase
must have been made between March 30, 2020 at 00:03:12 UTC (Coordinated Universal Time)
(March 29, 2020 at 8:03 pm ET) and the end of May 8, 2020, and between May 14, 2020 at
21:02:57 UTC (6:02:57 pm ET) through the end of May 18, 2020.


Specifically excluded from the Settlement Class are: (i) cbdMD and its officers and directors; (ii)
all Settlement Class Members who timely and validly request exclusion from the Settlement
Class; (iii) the Judge assigned to evaluate the fairness of this settlement; (iv) the attorneys
representing the Parties in the Litigation; (v) banks and other entities that issued payment cards
which were utilized at cbdMD during the Security Incident; and (vi) any other Person found by a
court of competent jurisdiction to be guilty under criminal law of initiating, causing, aiding, or
abetting the criminal activity occurrence of the Security Incident or who pleads nolo contendere
(a no-contest plea, while not technically a guilty plea, has the same immediate effect as a guilty
plea and is often offered as part of a plea bargain) to any such charge.

6. What if I am not sure whether I am included in the Settlement?

If you are not sure whether you are included in the Settlement, you may call 1-XXX-XXX-
XXXX with questions or visit [WEBSITE]. You may also write with questions to cbdMD
Claims Administrator, PO Box XXXX, City, State zip code. Please do not contact the Court with
questions.

                             THE SETTLEMENT BENEFITS
7. What does the Settlement provide?

The Settlement will provide payments to people who submit valid claims.
There are two types of payments that are available:
       (1) Expense Reimbursement (Question 8) and
       (2) Extraordinary Expense Reimbursement (Question 9).
You may submit a claim for either or both types of payments. You must also provide proof of
your class membership in the form of either (1) the unique identifier provided in the notice you
received by postcard or email; or (2) the first four and last four digits of the number associated
with the credit or debit card you claim to have used in connection with your online purchase with
cbdMD during the Security Incident; or (3) a document or documents reflecting your use of a
payment card in connection with a cbdMD online purchase during the Security Incident, which
could include, for example, a receipt from cbdMD reflecting payment by a payment card, a
                  Questions? Call 1-XXX-XXX-XXXX or visit [WEBSITE]
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payment card statement or bill, notification from a bank or financial institution stating that the
payment card was compromised during the Security Incident. In order to claim each type of
payment, you must provide related documentation with the Claim Form.


Total reimbursement under this Settlement is subject to an aggregate cap of $300,000 for all
claims.

As part of the Settlement, cbdMD has also committed to establish and maintain security
enhancements.


8. What payments are available for Expense Reimbursement?

Class Members are eligible to receive reimbursement of up to $210 (in total) for out-pocket
expenses resulting from the Security Incident such as:
   •   card replacement fees;
   •   late fees;
   •   overlimit or overdraft fees;
   •   interest;
   •   other bank or credit card fees;
   •   postage;
   •   mileage;
   •   incidental expenses resulting from lack of access to a payment card or account;
   •   up to $80 in costs associated with obtaining credit monitoring and identity theft
       protection (if purchased between March 30, 2020 and the Claims Deadline, with
       reasonable documentation and an affirmative statement that it was purchased primarily
       because of the Security Incident, and with proof of purchase);
   •   reimbursement of up to four (3) hours of documented lost time (at $20 per hour) spent
       dealing with replacement card issues or in reversing fraudulent charges (only if at least
       one full hour was spent and if it can be documented with reasonable specificity); and
   •   an additional $20 payment for each credit or debit card on which documented fraudulent
       charges were incurred that were later reimbursed.

9. What payments are available for Extraordinary Expense Reimbursement?

Class Members who had other extraordinary unreimbursed monetary losses because of payment
card information compromised as part of the Security Incident are eligible to make a claim for
reimbursement of up to $2,500. As part of the claim, the Class Member must show that:
       (1) it is an actual, documented, and unreimbursed monetary loss;
       (2) the loss was more likely than not caused by the Security Incident;
       (3) the loss occurred during the time period from March 30, 2020 through and including
           the end of the Claims Deadline;


                  Questions? Call 1-XXX-XXX-XXXX or visit [WEBSITE]
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       (4) the loss is not an amount already covered by one or more of the categories in
Question 8; and
       (5) a reasonable effort was made to avoid or seek reimbursement for the loss .
More details are provided in the Settlement Agreement, which is available at [WEBSITE].

                                HOW TO GET BENEFITS
10. How do I get benefits?

To make a claim under the Settlement, you must complete and submit a Claim Form. Claim
Forms are available at [WEBSITE], or you may request one by mail by calling [PHONE #].
Read the instructions carefully, fill out the Claim Form, and mail it postmarked no later than
Month Day, 2021 to:
                                 cbdMD Claims Administrator
                                      PO Box XXXXX
                                     City, State zip code

11. How will claims be decided?

The Claims Administrator will initially decide whether the information provided on a Claim
Form is complete and valid. The Claims Administrator may require additional information from
any claimant. If the required information is not provided timely, the claim will be considered
invalid and will not be paid.
If the claim is complete and the Claims Administrator denies the claim entirely or partially, the
claimant will be provided an opportunity to have their claim reviewed by an impartial Claim
Referee who has been appointed by the Court.

                         REMAINING IN THE SETTLEMENT
12. Do I need to do anything to remain in the Settlement?

You do not have to do anything to remain in the Settlement, but if you want a payment you must
submit a Claim Form postmarked by Month Day, 2021.

13. What am I giving up as part of the Settlement?

If the Settlement becomes final, you will give up your right to sue cbdMD for the claims being
resolved by this Settlement, which include claims related to the Security Incident. The specific
claims you are giving up against cbdMD are described in Section 1.19 of the Settlement
Agreement. You will be “releasing” cbdMD and all related people or entities as described in
Section 6 of the Settlement Agreement. The Settlement Agreement is available at [WEBSITE].
The Settlement Agreement describes the released claims with specific descriptions, so read it
carefully. If you have any questions you can talk to the law firms listed in Question 17 for free
or you can, of course, talk to your own lawyer at your own expense if you have questions about
what this means.


                  Questions? Call 1-XXX-XXX-XXXX or visit [WEBSITE]
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                EXCLUDING YOURSELF FROM THE SETTLEMENT
If you do not want a payment from this Settlement, but you want to keep the right to sue cbdMD
about issues related to the Security Incident, then you must take steps to get out of the Settlement
Class. This is called excluding yourself from – or is sometimes referred to as “opting out” of –
the Settlement Class.

14. If I exclude myself, can I get a payment from this Settlement?

No. If you exclude yourself, you will not be entitled to any benefits of the Settlement, but you
will not be bound by any judgment in this case.

15. If I do not exclude myself, can I sue cbdMD for the same thing later?

No. Unless you exclude yourself, you give up any right to sue cbdMD for the claims that this
Settlement resolves. You must exclude yourself from the Settlement Class to start your own
lawsuit or to be part of any different lawsuit relating to the claims in this case. If you exclude
yourself, do not submit a Claim Form to ask for a payment.

16. How do I exclude myself from the Settlement?

To exclude yourself, send a letter that says you want to be excluded from the Settlement in
Warshawsky et. al. v. cbdMD, Inc. et. al., Case No. 3:20-cv-00562-RJC-DSC. Include your
name, address, and signature. You must mail your Exclusion Request postmarked by Month
Day, 2021, to:


                                  cbdMD Settlement Exclusions
                                       PO Box XXXXX
                                      City, State zip code

                        THE LAWYERS REPRESENTING YOU
17. Do I have a lawyer in this case?
Yes. The Court appointed the following lawyers as “Class Counsel”: Jean Martin of MORGAN &
MORGAN COMPLEX LITIGATION GROUP, 201 N. Franklin Street, 7th Floor, Tampa, Florida
33602; and M. Anderson Berry of CLAYEO C. ARNOLD, P.C., 865 Howe Avenue, Sacramento,
CA 95825.

You will not be charged for these lawyers. If you want to be represented by your own lawyer,
you may hire one at your own expense.

18. How will the lawyers be paid?

Class Counsel will request the Court’s approval of an award for attorneys’ fees and reasonable
costs and expenses of $135,000. Class Counsel will also request approval of service award of
$2,500 for each of the Representative Plaintiffs. Any amount that the Court awards for

                  Questions? Call 1-XXX-XXX-XXXX or visit [WEBSITE]
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attorneys’ fees, costs, expenses, and an incentive award will be paid separately by cbdMD and
will not reduce the amount of payments to Class Members who submit valid claims.

                         OBJECTING TO THE SETTLEMENT
You can tell the Court that you do not agree with the Settlement or some part of it.

19. How do I tell the Court that I do not like the Settlement?

You can object to the Settlement if you do not like it or some part of it. The Court will consider
your views. To do so, you must file a written objection in this case, Warshawsky et. al. v.
cbdMD, Inc. et. al., Case No. 3:20-cv-00562-RJC-DSC, with the Clerk of the Court at the
address below.
Your objection must include all of the following:
   •   your full name, address, telephone number, and e-mail address (if any);
   •   information identifying you as a Settlement Class Member, including proof that you are a
       member of the Settlement Class, which is described in response to question number 7;
   •   a written statement of all grounds for the objection, accompanied by any legal support for
       the objection that you believe is applicable;
   •   the identity of all counsel representing you, if any, in connection with your objection;
   •   the identity of all counsel representing you who will appear at the Final Fairness Hearing;
   •   a list of all persons who will be called to testify at the Final Fairness Hearing in support
       of the objection;
   •   a statement confirming whether you intend to personally appear and/or testify at the Final
       Fairness Hearing;
   •   your signature and the signature of your duly authorized attorney or other duly authorized
       representative (along with documentation setting forth such representation);
   •   a list, by case name, court, and docket number, of all other cases in which you (directly or
       through counsel) have filed an objection to any proposed class action settlement within
       the last 3 years;
   •    a list, by case name, court, and docket number, of all other cases in which your counsel
       (on behalf of any person or entity) has filed an objection to any proposed class action
       settlement within the last 3 years; and
   •   a list, by case name, court, and docket number, of all other cases in which you have been
       a named plaintiff in any class action or served as a lead plaintiff or representative
       plaintiff.
To be timely, your objection must be postmarked to the Clerk of the Court for the United States
District Court for the Western District of North Carolina (Charlotte Division) no later than
Month Day, 2021.
In addition, you must mail a copy of your objection to both Class Counsel and Defense Counsel,
postmarked no later than Month Day, 2021:

                  Questions? Call 1-XXX-XXX-XXXX or visit [WEBSITE]
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COURT                             CLASS COUNSEL                        DEFENSE COUNSEL
Office of the Clerk               Jean S. Martin                       Paul G. Karlsgodt
U.S. District Court for the       Morgan & Morgan Complex              Baker & Hostetler LLP
Western District of North         Litigation Group                     1801 California Street
Carolina (Charlotte Division)     201 N. Franklin St., 7th Floor       Suite 4400
United States Courthouse          Tampa, FL 33602                      Denver, CO 80202
Charles R. Jonas Federal Bldg.
401 West Trade Street, Room
210
Charlotte, NC 28202

20. What is the difference between objecting and asking to be excluded?

Objecting is telling the Court that you do not like the Settlement and why you do not think it
should be approved. You can object only if you do not exclude yourself from the Class.
Excluding yourself is telling the Court that you do not want to be part of the Class. If you
exclude yourself, you have no basis to object because the case no longer affects you.

         THE COURT’S FINAL SETTLEMENT APPROVAL HEARING
The Court will hold a hearing to decide whether to grant final approval of the Settlement.

21. When and where will the Court decide whether to approve the Settlement?
The Court will hold a Final Settlement Approval Hearing at __:__ _.m. on Month Day, 2021, at
the United States District Court for the Western District of North Carolina (Charlotte Division)
located at the Charles R. Jonas Federal Bldg., 401 West Trade Street, Charlotte, NC 28202. The
hearing may be moved to a different date or time without additional notice, so it is a good idea to
check [WEBSITE] or call [PHONE #]. At this hearing, the Court will consider whether the
Settlement is fair, reasonable, and adequate. If there are timely objections, the Court will
consider them and will listen to people who have asked to speak at the hearing if such a request
has been properly made. The Court will also rule on the request for an award of attorneys’ fees
and reasonable costs and expenses, as well as the request for service awards for the
Representative Plaintiffs. After the hearing, the Court will decide whether to approve the
Settlement. We do not know how long these decisions will take.
22. Do I have to attend the hearing?

No. Class Counsel will present the Settlement Agreement to the Court. You or your own lawyer
are welcome to attend at your expense, but you are not required to do so. If you send an
objection, you do not have to come to the Court to talk about it. As long as you filed your
written objection on time with the Court and mailed it according to the instructions provided in
Question 19, the Court will consider it.

23. May I speak at the hearing?

You may ask the Court for permission to speak at the Final Settlement Approval Hearing. To do
so, you must file an objection according to the instructions in Question 19, including all the

                  Questions? Call 1-XXX-XXX-XXXX or visit [WEBSITE]
                                         10
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information required by items (v), (vi), and (vii). Your Objection must be filed with the Clerk of
the Court for the United States District Court for the Western District of North Carolina
(Charlotte Division) no later than Month Day, 2021. In addition, you must mail a copy of your
objection to both Class Counsel and Defense Counsel listed in Question 19, postmarked no later
than Month Day, 2021.


                                  IF YOU DO NOTHING
24. What happens if I do nothing?

If you do nothing, you will get no benefits from this Settlement. Unless you exclude yourself,
after the Settlement is granted final approval and the judgment becomes final, you will not be
able to start a lawsuit, continue with a lawsuit, or be part of any other lawsuit against cbdMD
about the legal issues in this case, ever again.

                           GETTING MORE INFORMATION
25. How do I get more information?

This Notice summarizes the proposed Settlement. More details are in a Settlement Agreement.
You can get a copy of the Settlement Agreement at [WEBSITE]. You may also write with
questions to cbdMD Claims Administrator, PO Box XXXXX, City, State Zip. You can also get
a Claim Form at the website, or by calling the toll-free number, [PHONE].




                  Questions? Call 1-XXX-XXX-XXXX or visit [WEBSITE]
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                            EXHIBIT E
                            NOTICE PLAN
                            CONTAINED IN
                            DECLARATION OF
                            PROPOSED NOTICE
                            ADMINISTRATOR




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                       IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                                       )
 MICHAEL WARSHAWSKY and                                )
 MICHAEL STEINHAUSER, on behalf of
 themselves and all others similarly situated,         ) Case No. 20-cv-00562
                                                       )
                         Plaintiffs,
                                                       )
                                                       )
          v.                                           )
                                                       )
 CBDMD, INC. and CBD INDUSTRIES LLC,                   )
                         Defendants.                   )
                                                       )
                                                       )


 DECLARATION OF WILLIAM W. WICKERSHAM IN SUPPORT OF PLAINTIFF’S
  UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
     SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT

         1.    I am the Vice President of Business Development and Client Relations at RG/2

Claims Administration LLC (“RG/2 Claims”). In that role, I oversee the intake and management

of all ongoing class action settlements including the creation and implementation of legal notice

plans.

         2.    RG/2 Claims was established in 2002 as a full-service class action notice and

claims administrator, providing notice and administration services for a broad range of collective

actions, including but not limited to antitrust, securities, consumer, and employment cases. RG/2

Claims specializes in the creation, development and implementation of legal notification plans.

Accordingly, RG/2 Claims is familiar with, and guided by Constitutional due process provisions,

rules of states and local jurisdictions, and the relevant case law relating to legal notification.




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Since 2002, RG/2 has administered and distributed in excess of $1.2 billion in class-action

settlement proceeds. A true and accurate copy of the firm’s publication describing RG/2’s

background and capabilities is attached hereto as Exhibit A.

       3.      I have been involved in the development and implementation of media plans for

class action notification for more than ten years.

       4.      I submit this declaration at the request of Proposed Class Counsel for the

Settlement Class in order to describe the proposed notice plan and notice services in the

settlement of claims against Defendants cbdMD, Inc. and CBD Industries, LLC (collectively

“cbdMD” or “Defendants”) in the above-captioned litigation.

       5.      I have personal knowledge of the matters set forth in this declaration and, if called

as a witness, could and would testify competently thereto.

       6.      The objective of the suggested Notice program is to provide the best notice

practicable—Rule 23-compliant notice—to those members of the Class.

       7.      Within 10 days of Class Counsel filing for Preliminary Approval, RG/2 Claims

will provide notice to relevant state and federal attorneys general in compliance with the Class

Action Fairness Act.

       8.      RG/2 Claims proposes a notice program with the following elements:

               a.      Direct notice via postcard to the class members identified from

Defendants’ records who made a purchase online with cbdMD between March 30, 2020 at

00:03:12 UTC (Coordinated Universal Time) (March 29, 2020 at 8:03 pm ET) and the end of

May 8, 2020, and between May 14, 2020 at 21:02:57 UTC (6:02:57 pm ET) through the end of

May 18, 2020. Defendants have names and addresses for every person who made a purchase

during this time.




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               b.      The Notice and other important court documents relevant to the Class

Notice and the litigation in general will be made available on a case specific website designated

for this action. Additionally, RG/2 Claims will maintain a toll-free number to answer and

address any class member inquiries.

       9.      The proposed notice plan provides the best practicable method to reach the

potential class members and is consistent with other class action notice plans that have been

approved by various federal courts for similarly situated matters.

       10.     Whenever practicable, direct USPS mail is the preferred form of notice for class

members in a class action. Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 175-76 (1974).

       11.     All undeliverable mail will be sorted and scanned. For returned notices without a

forwarding address, RG/2 Claims will use Accurint (a division of Lexis-Nexis) to perform a

basic “skip trace” search in order to retrieve the most accurate and updated information. The

database will be updated with any new address found and the Notice will be either be re-mailed

to the updated addresses or sent by email.

       12.     RG/2 Claims believes the notice program described above is suitable for this case

and is comparable to plans other federal courts have approved for similar cases. RG/2 Claims

also believes that the Notice is drafted in the “plain language” format preferred by federal courts

and provides the information required by Rule 23. RG/2 Claims believes that the Notice is

understandable for members of the Class and complies with due process.

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED

STATES THAT TO THE BEST OF MY KNOWLEDGE THE FOREGOING IS TRUE AND

CORRECT.


                                [Signature on the following page]




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Executed on April 30, 2021 at New York, NY.




                                                ________________________________
                                                    William W. Wickersham, Declarant




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                      EXHIBIT F
                      PROPOSED PRELIMINARY
                      APPROVAL ORDER




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                      IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                                     )
 MICHAEL WARSHAWSKY and                              )
 MICHAEL STEINHAUSER, on behalf of
 themselves and all others similarly situated,       ) Case No. 20-cv-00562
                                                     )
                        Plaintiffs,
                                                     )
                                                     )
        v.                                           )
                                                     )
 CBDMD, INC. and CBD INDUSTRIES LLC,                 )
                        Defendants.                  )
                                                     )
                                                     )


 [PROPOSED] ORDER CONDITIONALLY CERTIFYING A SETTLEMENT CLASS,
 GRANTING PRELIMINARY APPROVAL OF THE CLASS ACTION SETTLEMENT,
 APPROVING THE FORM AND MANNER OF NOTICE, AND SCHEDULING FINAL
                       APPROVAL HEARING

       This cause is before the Court on Plaintiffs’ Unopposed Motion for Preliminary Approval

of the Class Action Settlement (the “Motion”). The Court, having considered the Motion, the

supporting memorandum of law, the Parties’ Settlement Agreement dated _____________ (the

“Settlement Agreement”), the proposed forms of Notice to the Settlement Class, the pleadings

and other papers filed in this Action, and the statements of counsel and the parties, has

determined that the proposed Settlement satisfies the criteria for preliminary approval, the

proposed Settlement Class is preliminarily certified, and the proposed Notice Plan is approved.

Accordingly, good cause appearing in the record, Plaintiffs’ Motion is GRANTED.

       IT IS HEREBY ORDERED as follows:




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                           Preliminary Approval of Settlement Agreement

         1.        Unless otherwise defined herein, all terms that are capitalized herein shall have

the meanings ascribed to those terms in the Settlement Agreement.

         2.        This Court has jurisdiction over the Litigation, Plaintiffs, all Settlement Class

Members, Defendants cbdMD, Inc. and CBD Industries, LLC (collectively “cbdMD” or

“Defendants”), and any party to any agreement that is part of or related to the Settlement.

         3.        The Court finds that the proposed Settlement with cbdMD set forth in the

Settlement Agreement is fair, reasonable, and adequate, otherwise meets the criteria for approval,

and warrants issuance of notice to the Settlement Class. Accordingly, the proposed Settlement is

preliminarily approved.

                           Provisional Certification of the Settlement Class

         4.        Solely for purposes of the Settlement, the Court conditionally certifies the

following class pursuant to FED. R. CIV. P. 23(a) and (b)(3) (“Settlement Class”):

         All persons residing in the United States who made a purchase online with cbdMD
         between March 30, 2020 at 00:03:12 UTC (Coordinated Universal Time) and the
         end of May 8, 2020, and between May 14, 2020 at 21:02:57 UTC through the end
         of May 18, 2020.

Excluded from the Settlement Class are (i) cbdMD and its officers and directors; (ii) all

Settlement Class Members who timely and validly request exclusion from the Settlement Class;

(iii) the Judge assigned to evaluate the fairness of this settlement; (iv) the attorneys representing

the Parties in the Litigation; (v) banks and other entities that issued payment cards which were

utilized at cbdMD during the Security Incident; and (vi) any other Person found by a court of

competent jurisdiction to be guilty under criminal law of initiating, causing, aiding or abetting

the criminal activity occurrence of the Security Incident or who pleads nolo contendere to any

such charge.

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         5.        Subject to final approval of the Settlement, the Court finds and concludes for

settlement purposes only that the prerequisites to a class action, set forth in FED. R. CIV. P. 23(a)

and (b), are satisfied in that:

         (a)       the Settlement Class is so numerous that joinder of all members is impracticable;

         (b)       there are questions of law or fact common to the Settlement Class;

         (c)       Plaintiffs and Class Counsel (each defined below) fairly and adequately represent

                   the Settlement Class;

         (d)       the claims of Plaintiffs are typical of those of Settlement Class Members;

         (e)       common issues predominate over any individual issues affecting the members of

                   the Settlement Class;

         (f)       Plaintiffs fairly and adequately protect and represent the interests of all members

                   of the Settlement Class, and Plaintiffs’ interests are aligned with the interests of

                   all other members of the Settlement Class; and

         (g)       settlement of the Actions on a class action basis is superior to other means of

                   resolving this matter.

         6.        The Court appoints Jean Martin of MORGAN & MORGAN COMPLEX LITIGATION

GROUP, and M. Anderson Berry of CLAYEO C. ARNOLD, P.C as Class Counsel, having

determined that the requirements of Rule 23(g) of the Federal Rules of Civil Procedure are fully

satisfied by this appointment.

         7.        The Court hereby appoints Michael Warshawsky and Michael Steinhauser to

serve as Class Representatives for settlement purposes only on behalf of the Settlement Class.




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                                 Notice to Settlement Class Members

         8.        The Court approves the Notices of Pendency and Proposed Settlement of Class

Action (the “Settlement Notices”), and finds that the dissemination of the Notices substantially in

the manner and form set forth in the Notice Plan attached to the Motion complies fully with the

requirements of the Federal Rule of Civil Procedure 23 and due process of law, and is the best

notice practicable under the circumstances. Non-material modifications to the Settlement Notices

may be made without further order of the Court.

         9.        The notice procedures described in the Notice Plan attached to the Motion are

hereby found to be the best means of providing notice under the circumstances, are reasonably

calculated to apprise Settlement Class Members of the pendency of the action, the terms of the

proposed Settlement, and their rights under the proposed Settlement, including but not limited to

their rights to object to or exclude themselves from the proposed Settlement, and, when

completed, shall constitute due and sufficient notice of the proposed Settlement Agreement and

the Final Approval Hearing to all persons affected by and/or entitled to participate in the

Settlement Agreement, in full compliance with the notice requirements of Rule 23 of the Federal

Rules of Civil Procedure and due process of law.

         10.       The Claims Administrator is directed to carry out the Notice Plan, which shall be

completed in the manner set forth in the Settlement Agreement. No later than thirty (30) days

from the date of this Order preliminarily approving the Settlement, the Claims Administrator

shall initiate the Notice Plan, which shall be completed in the manner set forth in the Settlement

Agreement.

         11.       All costs incurred in disseminating and otherwise in connection with the

Settlement Notices shall be paid by Defendants pursuant to the Settlement Agreement.


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         12.       The claim form attached to the Settlement Agreement satisfies the requirements

of due process and of Rule 23(e) of the Federal Rules of Civil Procedure and thus is approved for

dissemination to the Settlement Class. The claim form shall be made available to the Settlement

Class as set forth on the Notice Plan and shall be made available to any potential Class member

that requests one.

         Responses by Class Members and the Scheduling of a Final Approval Hearing

         13.       Settlement Class Members may opt-out (the “Opt-Out Deadline”) or object up to

120 days from the date on which the Notice Program commences.

         14.       Any member of the Settlement Class that wishes to be excluded (“opt out”) from

the Settlement Class must send a written Request for Exclusion to Class Counsel and Counsel for

cbdMD to the designated Post Office box established by the Claims Administrator on or before

the close of the Opt-Out Deadline. Members of the Settlement Class may not exclude themselves

by filing Requests for Exclusion as a group or class, but must in each instance individually and

personally execute a Request for Exclusion. All Settlement Class Members that exclude

themselves from the Settlement Class will not be eligible to receive any benefits under the

Settlement, will not be bound by any further orders or judgments entered for or against the

Settlement Class, and will preserve their ability to independently pursue any claims they may

have against Defendants.

         15.       Any member of the Settlement Class that does not properly and timely request

exclusion from the Settlement Class shall, upon entry of the Order and Final Judgment, be bound

by all the terms and provisions of the Settlement Agreement and Release, whether or not such

Class member objected to the Settlement and whether or not such Class member received

consideration under the Settlement Agreement.


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         16.       A hearing on the Settlement (the “Final Approval Hearing”) shall be held before

this Court on _____________________________, 2021 at __________________, Courtroom

___ of the United States District Court for the Western District of North Carolina (Charlotte

Division) located at the Charles R. Jonas Federal Bldg., 401 West Trade Street, Charlotte, NC

28202.

         17.       At the Final Approval Hearing, the Court will consider (a) the fairness,

reasonableness, and adequacy of the proposed class settlement and whether the settlement should

be granted final approval by the Court; (b) dismissal with prejudice of the Action; (c) entry of an

order including the Release; (d) entry of the Final Approval Order; and (e) entry of final

judgment in this Action. Class Counsel’s application for award of attorney’s fees and costs, and

request for the Court to award a service award to the named plaintiffs, shall also be heard at the

time of the hearing.

         18.       The date and time of the Final Approval Hearing shall be subject to adjournment

by the Court without further notice to the members of the Settlement Class, other than that which

may be posted by the Court. Should the Court adjourn the date for the Final Approval Hearing,

that shall not alter the deadlines for mailing and publication of Notice, the Opt-Out deadline, or

the deadlines for submissions of settlement objections, claims, and notices of intention to appear

at the Final Approval Hearing unless those dates are explicitly changed by subsequent Order.

         19.       Any person or entity who or which does not elect to be excluded from the

Settlement Class may, but need not, enter an appearance through his, her, or its own attorney.

Settlement Class Members that do not timely object or opt out and that do not have an attorney

enter an appearance on their behalf will be represented by Class Counsel.




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         20.       Any person or entity who or which does not elect to be excluded from the

Settlement Class may object to the proposed Settlement. Any Class member may object to, inter

alia, (a) the proposed Settlement, (b) entry of Final Approval Order and the judgment approving

the Settlement, (c) Class Counsel’s application for fees and expenses, or (d) service award

requests, by serving a written objection upon Class Counsel, cbdMD’s counsel, and the Court.

         21.       Any Class member making the objection (an “Objector”) must sign the objection

personally or through Objector’s counsel. An objection shall include all information required by

the Settlement Agreement, including the Objector’s name, address and telephone number of the

objector, proof of class membership, and a detailed statement of each objection asserted,

including the grounds for objection together with any documents such person wishes to be

considered in support of the objection. The objection must also contain a detailed list of any

other objections by the Objector and/or by the attorney representing the Objector to any class

action settlement(s) submitted to any state or federal court in the United States in the previous

three (3) years.

         22.       If an Objector intends to appear at the hearing, personally or through counsel, the

Objector must include with the objection a notice of the Objector’s intent to appear at the

hearing. If counsel is appearing on behalf of more than one Settlement Class member, counsel

must identify each such Settlement Class member and each Settlement Class member must have

complied with the requirements of this Order. No objector may appear at the hearing unless the

objector indicates an intent to appear.

         23.       Objections, along with any notices of intent to appear and any supporting

documents, must be filed with the Clerk of the Court no later than one hundred twenty (120)




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days from the date on which the Notice Program commences. These documents must be filed

with the Clerk of the Court electronically or at the following address:

         U.S. District Court for the Western District of North Carolina (Charlotte Division)
                                     Office of the Clerk of Court
                                    Charles R. Jonas Federal Bldg.
                                  401 West Trade Street, Room 210
                                        Charlotte, NC 28202

         23.       Only Settlement Class Members that have filed and served valid and timely

notices of objection shall be entitled to be heard at the Final Approval Hearing. Any Settlement

Class member that does not timely file and serve an objection in writing in accordance with the

procedure set forth in the Class Notice and mandated in this Order shall be deemed to have

waived any objection to (a) the Settlement; (b) the Release; (c) entry of Final Approval Order or

any judgment; (d) Class Counsel’s application for fees, costs, and expenses; or (e) service award

requests for the named Plaintiffs, whether by appeal, collateral attack, or otherwise.

         24.       Settlement Class Members need not appear at the hearing or take any other action

to indicate their approval.

         25.       Upon entry of the Order and Final Judgment all members of the Settlement Class

that have not personally and timely requested to be excluded from the Settlement Class will be

enjoined from proceeding against Defendant with respect to all of the Released Claims.

         26.       cbdMD shall prepare and send, at cbdMD’s expense, all notices that are required

by the Class Action Fairness Act of 2005 (“CAFA”) as specified in 28 U.S.C. § 1715. Class

Counsel and Counsel for cbdMD shall cooperate promptly and fully in the preparation of such

notices, including providing cbdMD with any and all information in their possession necessary

for the preparation of these notices. cbdMD shall provide courtesy copies of the notices to Class

Counsel for the purpose of implementing the settlement. cbdMD shall provide notice to Class


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Counsel and the Court of compliance with the CAFA requirements within ten (10) days of

providing notice to Attorneys General under CAFA.

         27.       The schedule by which the events referenced above should occur is as follows:

 Event                                               Date

 cbdMD Provides CAFA Notice required by              Within 10 days after the filing of Plaintiffs’
 28 U.S.C. § 1715(b)                                 Motion for Preliminary Approval of the Class
                                                     Action Settlement
 cbdMD Provides Notice to Class Counsel and          Within 10 days of providing notice to
 the Court of Compliance with CAFA                   Attorneys General under CAFA
 Requirements
 Class Notice Program Commences                      Within 30 days after entry of this Preliminary
                                                     Approval Order

 Compliance with CAFA Waiting Period                 90 days after the Appropriate Governmental
 under 28 U.S.C. § 1715(d)                           Officials are Served with CAFA Notice

 Motion for Attorney's Fees, Reimbursement           At Least 14 days before the Objection
 of Costs and Expenses, and Service Awards           Deadline
 to be Filed by Class Counsel

 Postmark Deadline for requests for                  120 days after Commencement of Notice
 Exclusion (Opt-Out) or Objections                   Program

 Postmark/Filing Deadline for Filing Claims          120 days after Commencement of Notice
                                                     Program

 Motion for Final Approval to be Filed               At Least 21 days before the Final Approval
 by Class Counsel                                    Hearing

 Final Approval Hearing                              Approximately 150 days after
                                                     Commencement of Notice Program, or
                                                     _______________


                                  Administration of the Settlement

         28.       The Court hereby appoints the claims administrator proposed by the parties, RG2

(the “Claims Administrator”). Responsibilities of the Claims Administrator shall include: (a)

establishing a post office box for purposes of communicating with Settlement Class Members;


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(b) disseminating Notice to the Class; (c) developing a web site to enable Settlement Class

Members to access documents; (d) accepting and maintaining documents sent from Settlement

Class Members relating to claims administration; (e) determining validity of Claims in

accordance with the Settlement Agreement; and (f) distributing settlement checks to Settlement

Class Members. Pursuant to the Settlement Agreement, Defendants shall pay all related costs and

expenses associated with the Notice, claims, and settlement administration. These payments to

the Claims Administrator shall be made separate and apart from the relief being made available

to Settlement Class Members under the Settlement.

      29.          The Court hereby appoints the Claims Referee proposed by the parties, Bennett G.

Picker of the law firm Stradley Ronon Stevens & Young, LLP (the “Claims Referee”). The

Claims Referee shall be responsible for deciding certain claims that may be rejected by the

Claims Administrator, upon request of the Settlement Class Member submitting such Claims, as

described in the Settlement Agreement.

                          Claims Process and Distribution and Allocation Plan

      30.          The parties have created a process for assessing and determining the validity and

value of claims and a payment methodology to Settlement Class Members who submit a timely,

valid claim form. The Court preliminarily approves the plan for remuneration described in

Section 2.3 of the Settlement Agreement, and directs that the Claims Administrator effectuate the

distribution of settlement consideration according to the terms of the Settlement Agreement,

should the Settlement be finally approved.

      31.          Settlement Class Members who qualify for and wish to submit a claim form shall

do so in accordance with the requirements and procedures specified in the Notice and the Claim

Form. If final Judgment is entered, all Settlement Class Members who qualify for any benefit


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under the Settlement but fail to submit a claim in accordance with the requirements and

procedures specified in the Notice and the Claim Form shall be forever barred from receiving

any such benefit, but will in all other respects be subject to and bound by the provisions in the

Settlement Agreement, the releases included in that Agreement, and the final Judgment.

                                        Additional Provisions

         32.       In the event the Settlement Agreement and the proposed settlement are terminated

in accordance with the applicable provisions of the Settlement Agreement, the Settlement

Agreement, the proposed Settlement, and all related proceedings shall, except as expressly

provided to the contrary in the Settlement Agreement, become null and void, shall have no

further force and effect, and Settlement Class Members shall retain all of their current rights to

assert any and all claims against Defendants and any other released party, and the Defendants

and any other released parties shall retain any and all of their current defenses and arguments

thereto (including but not limited to arguments that the requirements of FED. R. CIV. P. 23(a) and

(b)(3) are not satisfied for purposes of continued litigation). These Actions shall thereupon revert

forthwith to their respective procedural and substantive status prior to the date of execution of

the Settlement Agreement and shall proceed as if the Settlement Agreement and all other related

orders and papers had not been executed.

         33.       Neither this Order nor the Settlement Agreement nor any other settlement-related

document nor anything contained herein or therein or contemplated hereby or thereby nor any

proceedings undertaken in accordance with the terms set forth in the Settlement Agreement or

herein or in any other settlement-related document, shall constitute, be construed as or be

deemed to be evidence of or an admission or concession by cbdMD as to the validity of any

claim that has been or could have been asserted against it or as to any liability by it as to any


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matter set forth in this Order, or as to the propriety of class certification for any purposes other

than for purposes of the current proposed settlement.

         34.       Except as necessary to effectuate this Order, all proceedings and deadlines in this

matter are stayed and suspended pending the Final Approval Hearing and issuance of the final

Judgment, or until further order of this Court.

         35.       The Court reserves the right to adjourn or continue the Final Approval Hearing
and related deadlines without further written notice to the Class. If the Court alters any of those
dates or times, the revised dates and times shall be posted on the website maintained by the
Claims Administrator.


Dated: _____________________
                                                         HON. ROBERT J. CONRAD JR.
                                                         UNITED STATES DISTRICT JUDGE




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                      EXHIBIT G
                      PROPOSED FINAL
                      APPROVAL ORDER
                      AND JUDGMENT




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                       IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                                    )
 MICHAEL WARSHAWSKY and                             )
 MICHAEL STEINHAUSER, on behalf of
 themselves and all others similarly situated,      ) Case No. 20-cv-00562
                                                    )
                        Plaintiffs,
                                                    )
                                                    )
          v.                                        )
                                                    )
 CBDMD, INC. and CBD INDUSTRIES LLC,                )
                        Defendants.                 )
                                                    )
                                                    )

                 [PROPOSED] ORDER GRANTING FINAL APPROVAL
                OF THE CLASS ACTION SETTLEMENT AND JUDGMENT


         Before the Court is Plaintiffs’ unopposed motion requesting that the Court enter an Order

granting Final Approval of the Class Action Settlement involving Plaintiffs Michael Warshawsky

and Michael Steinhauser (hereinafter “Plaintiffs”) and Defendants cbdMD, Inc. and CBD

Industries, LLC (collectively “cbdMD” or “Defendants”), as fair, reasonable and adequate,

awarding attorneys’ fees and costs to Class Counsel as outlined herein, and awarding service

awards to Plaintiffs as detailed below.

         Having reviewed and considered the Settlement Agreement and the motions for final

approval of the settlement, an award of attorneys’ fees and costs, and service awards to the

Plaintiffs, and having conducted a final approval hearing, the Court makes the findings and grants

the relief set forth below approving the settlement upon the terms and conditions set forth in this

Order.



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       WHEREAS, on ___________________, the Court entered a Preliminary Approval Order

which among other things: (a) conditionally certified this matter as a class action, including

defining the class and class claims, appointing Plaintiffs as Class Representatives, and appointing

Proposed Counsel as Class Counsel; (b) preliminarily approved the Settlement Agreement; (c)

approved the form and manner of Notice to the Settlement Class; (d) set deadlines for opt-outs and

objections; (e) approved and appointed the claims administrator; and (f) set the date for the Final

Fairness Hearing;

       WHEREAS, on ___________________[DATE], pursuant to the Notice requirements

set forth in the Settlement Agreement and in the Preliminary Approval Order, the Settlement Class

was notified of the terms of the proposed Settlement Agreement, of the right of Settlement Class

Members to opt-out, and the right of Settlement Class Members to object to the Settlement

Agreement and to be heard at a Final Fairness Hearing;

       WHEREAS, on          ___________________[DATE], the Court held a Final Approval

Hearing to determine, inter alia: (1) whether the terms and conditions of the Settlement Agreement

are fair, reasonable, and adequate for the release of the claims contemplated by the Settlement

Agreement; and (2) whether judgment should be entered dismissing this action with prejudice.

Prior to the Final Approval Hearing, a declaration of compliance with the provisions of the

Settlement Agreement and Preliminary Approval Order relating to notice was filed with the Court

as required by the Preliminary Approval Order. Therefore, the Court is satisfied that Settlement

Class Members were properly notified of their right to appear at the final approval hearing in

support of or in opposition to the proposed Settlement Agreement, the award of attorneys’ fees

and costs to Class Counsel, and the payment of Service Awards to the Representative Plaintiffs;




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       WHEREAS, the Court not being required to conduct a trial on the merits of the case or

determine with certainty the factual and legal issues in dispute when determining whether to

approve a proposed class action settlement; and

       WHEREAS, the Court being required under Federal Rule of Civil Procedure 23(e) to make

the findings and conclusions hereinafter set forth for the limited purpose of determining whether

the settlement should be approved as being fair, reasonable, adequate and in the best interests of

the Settlement Class;

       Having given an opportunity to be heard to all requesting persons in accordance with the

Preliminary Approval Order, having heard the presentation of Class Counsel and counsel for

cbdMD, having reviewed all of the submissions presented with respect to the proposed Settlement

Agreement, having determined that the Settlement Agreement is fair, adequate, and reasonable,

having considered the application made by Class Counsel for attorneys’ fees and costs and

expenses, and the application for Service Awards to the Representative Plaintiffs, and having

reviewed the materials in support thereof, and good cause appearing:

       IT IS ORDERED that:

       1.      The Court has jurisdiction over the subject matter of this action and over all claims

raised therein and all Parties thereto, including the Settlement Class.

       2.      The Settlement involves allegations in Plaintiffs’ Class Action Complaint and Jury

Demand against Defendants for failure to implement or maintain adequate data security measures

for customer information, including Card Information, directly and proximately caused injuries to

Plaintiffs and the Class.

       3.      The settlement does not constitute an admission of liability by Defendants, and the

Court expressly does not make any finding of liability or wrongdoing by Defendants.




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       4.      Unless otherwise noted, words spelled in this Order with initial capital letters have

the same meaning as set forth in the Settlement Agreement.

       5.      The Court, having reviewed the terms of the Settlement Agreement submitted by

the parties pursuant to Federal Rule of Civil Procedure 23(e)(2), grants final approval of the

Settlement Agreement and for purposes of the Settlement Agreement and this Final Approval

Order and Judgment only, the Court hereby finally certifies the following Settlement Class:

       All persons residing in the United States who made a purchase online with
       cbdMD between March 30, 2020 at 00:03:12 UTC (Coordinated Universal Time)
       and the end of May 8, 2020, and between May 14, 2020 at 21:02:57 UTC through
       the end of May 18, 2020.


Excluded from the Settlement Class are (i) cbdMD and its officers and directors; (ii) all Settlement

Class Members who timely and validly request exclusion from the Settlement Class; (iii) the Judge

assigned to evaluate the fairness of this settlement; (iv) the attorneys representing the Parties in

the Litigation; (v) banks and other entities that issued payment cards which were utilized at cbdMD

during the Security Incident; and (vi) any other Person found by a court of competent jurisdiction

to be guilty under criminal law of initiating, causing, aiding or abetting the criminal activity

occurrence of the Security Incident or who pleads nolo contendere to any such charge.

       6.      The Settlement was entered into in good faith following arm’s length negotiations

and is non-collusive. The Settlement is in the best interests of the Settlement Class and is therefore

approved. The Court finds that the Parties faced significant risks, expenses, delays and

uncertainties, including as to the outcome, including on appeal, of continued litigation of this

complex matter, which further supports the Court’s finding that the Settlement Agreement is fair,

reasonable, adequate and in the best interests of the Settlement Class Members. The Court finds



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that the uncertainties of continued litigation in both the trial and appellate courts, as well as the

expense associated with it, weigh in favor of approval of the settlement reflected in the Settlement

Agreement.

       7.      The Settlement Agreement provides, in part, and subject to a more detailed

description of the settlement terms in that Agreement, for:

               A.      Defendants to institute a Settlement Claims Process as outlined in the
                       Settlement Agreement whereby Class Members can submit claims that will
                       be evaluated by a Claims Administrator mutually agreed upon by Class
                       Counsel and Defendant.

               B.      Defendants to pay all costs of Claims Administration and Settlement
                       Administration, including the cost of Claims Administrator, instituting
                       Notice, processing and administering claims, and preparing and mailing
                       checks.

               C.      Defendants to pay, subject to the approval and award of the Court, the
                       reasonable attorneys’ fees of Class Counsel and service awards to the Class
                       Representatives.

The Court readopts and incorporates herein by reference its preliminary conclusions as to the

satisfaction of Federal Rule of Civil Procedure 23(a) and (b)(3) set forth in the Preliminary

Approval Order and notes again that because this certification of the Settlement Class is in

connection with the Settlement Agreement rather than litigation, the Court need not address any

issues of manageability that may be presented by certification of the class proposed in the

Settlement Agreement.

       8.      The terms of the Settlement Agreement are fair, adequate, and reasonable and are

hereby approved, adopted, and incorporated by the Court. Notice of the terms of the Settlement,

the rights of Class Members under the Settlement, Final Approval Hearing, the application for

counsel fees and costs and expenses, and the proposed service award payments to the Class

Representative have been provided to Settlement Class Members as directed by this Court’s

Orders, and proof of Notice has been filed with the Court.


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        9.      The Court finds that such Notice as therein ordered, was the best possible notice

practicable under the circumstances and constitutes valid, due, and sufficient notice to all

Settlement Class Members in compliance with the requirements of Federal Rule of Civil Procedure

23(c)(2)(B).

        10.     The Court finds that cbdMD has fully complied with the notice requirements of the

Class Action Fairness Act of 2005, 28 U.S.C. § 1715.

        11.     As of the Opt-Out deadline, ____ potential Settlement Class Members have

requested to be excluded from the Settlement. Their names are set forth in Exhibit A to this Order.

Those persons are not bound by this Order, as set forth in the Settlement Order.

        12.     The Court has considered all the documents filed in support of the settlement, and

has fully considered all matters raised, all exhibits and affidavits filed, all evidence received at the

final hearing, all other papers and documents comprising the record herein, and all oral arguments

presented to the Court.

        13.     The parties, their respective attorneys, and the Claims Administrator are hereby

directed to consummate the settlement in accordance with this Order and the terms of the

Settlement Agreement.

        14.     Pursuant to the Settlement Agreement, Defendants, the Claims Administrator, and

Class Counsel shall implement the settlement in the manner and time frame as set forth therein.

        15.     Within the time period set forth in the Settlement Agreement, the relief provided

for in the Settlement Agreement shall be made available to the various Settlement Class Members

submitting valid Claim Forms, pursuant to the terms and conditions of the Settlement Agreement.

        16.     Pursuant to and as further described in the Settlement Agreement, Plaintiffs and the

Settlement Class Members release claims as follows:




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       Any and all claims and causes of action that were or could have been brought in the
       Litigation based on, relating to, concerning or arising out of the Security Incident
       and alleged theft or misuse of payment card data or other personal information or
       the allegations, facts, or circumstances described in the Litigation including,
       without limitation, any violations of the California, North Carolina, Florida, and
       similar state consumer protection statutes; any violation of the California Customer
       Records Act, California Unfair Competition Law, California Consumers Legal
       Remedies Act; Florida Deceptive and Unfair Trade Practices Act; negligence;
       negligence per se; breach of contract; breach of implied contract; breach of
       fiduciary duty; breach of confidence; invasion of privacy; misrepresentation
       (whether fraudulent, negligent or innocent); unjust enrichment; bailment;
       wantonness; failure to provide adequate notice pursuant to any breach notification
       statute or common law duty; and including, but not limited to, any and all claims
       for damages, injunctive relief, disgorgement, declaratory relief, equitable relief,
       attorneys’ fees and expenses, pre-judgment interest, credit monitoring services, the
       creation of a fund for future damages, statutory damages, punitive damages, special
       damages, exemplary damages, restitution, the appointment of a receiver, and any
       other form of relief that either has been asserted, or could have been asserted, by
       any Settlement Class Member against any of the Released Persons based on,
       relating to, concerning or arising out of the Security Incident and alleged theft or
       misuse of payment card data or other personal information or the allegations, facts,
       or circumstances described in the Litigation.


Released Claims shall not include the right of any Settlement Class Member or any of the Released

Persons to enforce the terms of the settlement contained in this Settlement Agreement, and shall

not include the claims of Settlement Class Members who have timely excluded themselves from

the Settlement Class.




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       17.     Pursuant to the Settlement Agreement, and in recognition of their efforts on behalf

of the Settlement Class, the Court approves payments to Plaintiffs in the total amount of $2,500

each as a service award for their efforts on behalf of the Settlement Class. Class Counsel shall

make such payment in accordance with the terms of the Settlement Agreement.

       18.     The Court has appointed Jean Martin of MORGAN & MORGAN COMPLEX

LITIGATION GROUP, and M. Anderson Berry of CLAYEO C. ARNOLD, P.C as Class Counsel.

       19.     The Court, after careful review of the time entries and rates requested by Class

Counsel, and after applying the appropriate standards required by relevant case law, hereby grants

Class Counsel’s application for attorneys’ fees, costs, and expenses in the amount of $135,000.00,

and grants the request for service awards to each of the Representative Plaintiffs in the amount of

$2,500. Payment shall be made pursuant to the terms of the Settlement Agreement.

       20.     This Order resolves all claims against all parties in this action and is a final order.

       21.     The matter is hereby dismissed with prejudice and without costs except that the

Court reserves jurisdiction over the consummation and enforcement of the settlement, without

affecting the finality of this Final Approval Order and Judgment.




Dated: _____________________
                                                      HON. ROBERT J. CONRAD, JR.
                                                      UNITED STATES DISTRICT JUDGE




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